Case 1:25-mj-00781-KBM Document11 Filed 04/18/25 Pagelof1

FILED

United States District Court
Albuquerque, New Mexico

UNITED STATES DISTRICT COURT

for the
District of New Mexico

Mitchell R. Elfers

. . Clerk of Court
United States of America

V

Lory Muniz

Defendant

Case No. 25-MJ-781

WAIVER OF PERSONAL PRESENCE AT HEARING

I; Lory Muniz , Defendant, understand that I am scheduled for
, initial hearing on 94/18/2025
nature of hearing date

I understand that I may appear by video for this proceeding. I hereby ask to be permitted to

appear for the hearing by video, and waive my right to be personally present for this hearing.

Lf? . .
are, 04/18/2025 Amy Muay

Defendant's cionature S
Signature of defendant's attorney

Jim Loonam

Printed name of defendant's attorney

jim_loonam@fd.org

Defendant's aitarney's e-mail address

